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FOR THE WESTERN DISTRICT OF TENNESSE UDJUHlj PH 3:h9
WESTERN DIVISION

    
 

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LYNN PoLiNsKI. §
Piaincifi, §
) Civ. No. 04-2912-Ml P
vB.
)
sARA LEE coRPoRATION, et ai., §
Defendant. §

 

 

 

 

 

ORDER GRANTING DEFENDANT'S MOTION TO
COMPEL PLAINTIFF‘S INITIAL RULE 26 DISCLOSURES

 

Before the court is defendant's Motion to Compel Plaintiff's
Initial Rule 26 Disclosures, filed on May 26, 2005 (dkt #12). In
the motion, the defendant asks the court for an order requiring the
plaintiff to provide her initial disclosures as required by Fed. R.
Civ. P. 26(a)(1) and this court's scheduling order entered on April
15, 2005. According to the defendant, despite its repeated
attempts to obtain the initial disclosures from the plaintiff,

plaintiff has to date not provided any initial disclosures. These

disclosures were due by May 6, 2005, as set forth in the scheduling

order. The defendant also requests an award of attorney's fees and
expenses for bringing the motion.

Local Rule 7.2(a)(2) requires that

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with eula 58 and/or re(a) FHCP on `

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The response to the motion and its supporting
memorandum . . . shall be filed within fifteen
days after service of the motion and shall be
accompanied by a proposed order. Failure to
respond timely to any motion, other than one
requesting dismissal of a claim or action, may
be deemed good grounds for granting the
- motion.

The plaintiff has not filed a response to the notion to
compel, and the time to respond has passed. Therefore, the motion
to compel is GRANTED. The plaintiff shall provide the defendant
with her initial disclosures within eleven (11) days from the date
of this order. The plaintiff is further warned that failure to
comply with this court's order shall result in dismissal of the
complaint with prejudice.

The defendant's request for attorney's fees and expenses is
DENIED at this time. Should plaintiff fail to comply with this

court's order, the defendant may renew its request for attorney's

fees for bringing this motion as well as any future motion relating

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TU M. PHAM
United States Magistrate Judge

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to initial disclosures.

IT IS SO ORDERED.

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This notice confirms a copy of the document docketed as number 14 in
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Honorable J on McCalla
US DISTRICT COURT

